
S &amp; R Medical, P.C., as Assignee of Hivit Rafailov, Respondent, 
againstNYCTA-MABSTOA, Appellant.




Foley, Smit, O'Boyle &amp; Weisman (Aaron E. Meyer of counsel), for appellant.
Fuld &amp; Karp, P.C., for respondent (no brief filed).

Appeal from an order of the Civil Court of the City of New York, Kings County (Pamela L. Fisher, J.), entered December 22, 2014. The order granted plaintiff's motion for summary judgment and denied defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is reversed, with $30 costs, plaintiff's motion for summary judgment is denied and defendant's cross motion for summary judgment dismissing the complaint is granted.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment. Defendant cross-moved for summary judgment dismissing the complaint on the ground that the action had been commenced after the expiration of the three-year limitation period of CPLR 214 (2), which, defendant contended, was applicable to self-insurers such as defendant. By order entered December 22, 2014, the Civil Court granted plaintiff's motion for summary judgment and denied defendant's cross motion.
As the action was not commenced until more than three years after the cause of action had accrued, the action was barred by the three-year statute of limitations set forth in CPLR 214 (2) (see Contact Chiropractic, P.C. v New York City Tr. Auth., 31 NY3d 187 [2018]).
Accordingly, the order is reversed, plaintiff's motion for summary judgment is denied and defendant's cross motion for summary judgment dismissing the complaint is granted.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: November 09, 2018










